     Case 1:15-cv-00010-GNS Document 3 Filed 02/12/15 Page 1 of 3 PageID #: 17




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   AT BOWLING GREEN
                             CIVIL ACTION NO. 1:15CV-P10-GNS


MARCUS J. LAWRENCE SR.                                                                 PLAINTIFF

v.

MITCH MCCONNELL et al.                                                             DEFENDANTS


                                  MEMORANDUM OPINION

        Plaintiff Marcus J. Lawrence Sr. filed a complaint which he captioned as a “TITLE 18

U.S.C.A. § 1506 CRIMINAL COMPLAINT TO APPLY CIVIL SANCTIONS AGAINST ALL

DEFENDANTS” (DN 1). Plaintiff sues fifteen public officials and judges, including Senator

Mitch McConnell, the Honorable Senior Judge Thomas B. Russell, Governor Steven L. Beshear,

Kentucky Supreme Court Chief Justice John D. Minton, and Kentucky Attorney General Jack

Conway.

                                                 I.

        As grounds for his complaint, Plaintiff states, “Pursuant to Title 18 U.S.C.A. § 1506

states it is The Obstruction Of Justice for ‘Any’ Person to feloniously steal, take away, alter or

avoid any record, writ, (discovery) process or any other proceeding in any court in the United

States . . . .” He maintains that “violent criminal offenses” have been committed against him and

that Defendants conspired against him to destroy surveillance videos of the crimes. Plaintiff

further states as follows:

        It is a fact that if “Any” JUDGE, GOVERNOR, SENATOR, CONGRESSMAN
        or THE PRESIDENT of the UNITED STATES allows, accepts or constitutes this
        criminal perjury “becomes a member” of the fraud & conspiracy, and must be
        held fully responsible for all that has been done by all coconspirators that are
        tortfeasors.
  Case 1:15-cv-00010-GNS Document 3 Filed 02/12/15 Page 2 of 3 PageID #: 18




Plaintiff contends that Attorney General Conway “is participating and refuses to prosecute

corrupt state officials who comitted violent criminal offenses knowingly with intent, is evidence

that will support a conviction under the Hobbs act.” He states that Defendants should be

criminally charged with violations as follows:

       Title 18 U.S.C.A. sections: 241, 242 & 243 (Criminally depriving Marcus J. of
       all civil rights to a fair trial & due process), 1028 (Identity fraud & Theft), 1503,
       1505, 1506, 1509, 1510, 1512 & 1513 (The Obstruction of Justice), 1621, 1622 &
       1623 (Perjury), 1951 (Interference with Marcus J.’s commerce by the use of
       threats, excessive force, torture, hate crimes, robbery & extortion), 1957 (The
       unlawful engagement in monetary transactions in March J. of the Lawrence
       family’s personal property derived from fraud and violent criminal activity), 1958
       (Interstate commerce facilities (The Commonwealth of Kentucky Department of
       Corrections) in commission of murder for hire) & 2340(A)(c) (The use of Torture
       as inhuman, degrading, cruel & unusual treatments & punishments) in direct
       violation of the Fourth, Fifth, Sixth, Eighth, Thirteenth & Fourteenth
       Amendments of The United States Federal Constitution, to serve a 20 year term of
       imprisonment.

                                                  II.

       Rule 12(h)(3) of the Federal Rules of Civil Procedure provides, “If the court determines

at any time that it lacks subject-matter jurisdiction, the court must dismiss the action.” It is

axiomatic that federal district courts are courts of limited jurisdiction, and their powers are

enumerated in Article III of the Constitution. Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 377 (1994); Hudson v. Coleman, 347 F.3d 138, 141 (6th Cir. 2003) (“[I]t is well

established that federal courts are courts of limited jurisdiction, possessing only that power

authorized by the Constitution and statute.”). “Jurisdiction defines the contours of the authority

of courts to hear and decide cases, and, in so doing, it dictates the scope of the judiciary’s

influence.” Douglas v. E.G. Baldwin & Assocs. Inc., 150 F.3d 604, 606 (6th Cir. 1998),

overruled on other grounds by Cobb v. Contract Transp., Inc., 452 F.3d 543, 548-49 (6th Cir.



                                                  2
      Case 1:15-cv-00010-GNS Document 3 Filed 02/12/15 Page 3 of 3 PageID #: 19




2006). The party that seeks to invoke a federal district court’s jurisdiction bears the burden of

establishing the court’s jurisdiction. Kokkonen, 511 U.S. at 377.

         “It is well settled that the question of whether and when prosecution is to be instituted is

within the discretion of the Attorney General.” Powell v. Katzenbach, 359 F.2d 234, 235 (D.C.

Cir. 1965). Only federal prosecutors, and not private citizens, have authority to initiate federal

criminal charges. See Sahagian v. Dickey, 646 F. Supp. 1502, 1506 (W.D. Wis. 1986); see also

United States v. Nixon, 418 U.S. 683, 693 (1974) (“Executive Branch has exclusive authority and

absolute discretion to decide whether to prosecute a case.”); see also Saro v. Brown, 11 F. App’x

387, 388 (6th Cir. 2001) (“A private citizen has no authority to initiate a federal criminal

prosecution; that power is vested exclusively in the executive branch.”).

         Plaintiff is a private citizen and cannot initiate criminal charges against anyone. He

therefore fails to establish the Court’s subject-matter jurisdiction over this action, and the action

must be dismissed. To the extent that any of the claims could be construed as claims brought

under 42 U.S.C. § 1983, Plaintiff states in his cover letter enclosing this and several other

complaints filed on the same day, that “these civil actions are not Title 42 § 1983 complaints and

are not to be filed as one. I am not interested in filing a 1983 complaint against these

defendants.” Therefore, the Court does not construe any of the claims as being brought under

§ 1983.

         For the foregoing reasons, the Court will dismiss the action under Fed. R. Civ. P. 12(h)(3)

by separate Order.

Date:     February 11, 2015




cc:     Plaintiff Lawrence, pro se
        Defendants
4416.010
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